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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________

SARAH MATTHEWS and JEFFREY MATTHEWS,
Individually, and as Parents and Natural Guardians of
M.M. 1, an infant under the age of 18 years and M.M.
2, an infant under the age of 18 years,

                                      Plaintiffs,
                                                           ANSWER TO THIRD-PARTY
               v.                                          COMPLAINT
                                                           Case No. 6:24-CV-0202
BRUNSWICK CORPORATION d/b/a MERCURY                        (DNY/TWD)
MARINE, by and through its Agents, Officers, and/or
Employees,

                              Defendant.
___________________________________________

BRUNSWICK CORPORATION d/b/a MERCURY
MARINE, by and through its Agents, Officers, and/or
Employees,

                                      Defendant/
                             Third-Party Plaintiff,

               v.

DAVID YOULEN,

                     Third-Party Defendant.
___________________________________________

       The Third-Party Defendant, David Youlen, by and through his attorneys, Sugarman Law

Firm, LLP, answering the Third-Party Complaint alleges:

       1.      ADMITS the allegations contained in paragraphs 1, 8, 9, 10, and 26.

       2.      DENIES knowledge and information sufficient to form a belief as to the allegations

contained in paragraphs 2, 3, 4, 7, 11, 27, and 30.
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        3.      DENIES the allegations contained in paragraphs 5, 6, 12, 13, 14, 15, 16, 17, 18, 19,

20, 21, 23, 24, 25, 28, 31, 32, 33, 34, 35, 36, 37, 38, and 39.

        4.      With respect to paragraphs 22 and 29, Third-Party Defendant repeats, reiterates,

and realleges each and every admission and denial heretofore made with the same force and effect

as if more fully set forth herein.

        5.      DENIES each and every other allegation not hereinbefore specifically admitted,

controverted or denied.

                                AS AND FOR A FIRST AFFIRMATIVE
                                DEFENSE, THE THIRD-PARTY DEFENDANT
                                ALLEGES:

        6.      That the court has no jurisdiction of the person of the Third-Party Defendant.

                                AS AND FOR A SECOND AFFIRMATIVE
                                DEFENSE, THE THIRD-PARTY DEFENDANT
                                ALLEGES:

        7.      That whatever injuries the Plaintiffs and/or Third-Party Plaintiff sustained were

caused or were contributed to by the culpable conduct of the Plaintiffs and/or Third-Party Plaintiff.

                                AS AND FOR A THIRD AFFIRMATIVE
                                DEFENSE, THE THIRD-PARTY DEFENDANT
                                ALLEGES:

        8.      That the accident and injuries complained of in the Third-Party Plaintiff’s

Complaint were caused or brought about by the negligence of a third person or persons over whom

the Third-Party Defendant herein had no control and for whose acts this Third-Party Defendant is

in no way responsible.
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                               AS AND FOR A FOURTH AFFIRMATIVE
                               DEFENSE, THE THIRD-PARTY DEFENDANT
                               ALLEGES:

        9.      Plaintiffs and/or Third-Party Plaintiff have failed to take all reasonable and

necessary steps to mitigate their damages.

                               AS AND FOR A FIFTH AFFIRMATIVE
                               DEFENSE, THE THIRD-PARTY DEFENDANT
                               ALLEGES:

        10.     The Third-Party Defendant owed no duty so as to make him liable in this action

                               AS AND FOR A SIXTH AFFIRMATIVE
                               DEFENSE, THE THIRD-PARTY DEFENDANT
                               ALLEGES:

        11.     That the Third-Party Plaintiff has failed to join necessary or indispensable party.

                               AS AND FOR A SEVENTH AFFIRMATIVE
                               DEFENSE, THE THIRD-PARTY DEFENDANT
                               ALLEGES:

        12.     That the Third-Party Complaint fails to state a cause of action upon which relief

may be properly granted.

                               AS AND FOR AN EIGHTH AFFIRMATIVE
                               DEFENSE, THE THIRD-PARTY DEFENDANT
                               ALLEGES:

        13.     That the cause of action in the Third-Party Complaint is barred by the applicable

statute of limitations.

        WHEREFORE, the Third-Party Defendant demands judgment dismissing the Third-Party

Complaint and the costs and disbursements of this action.
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                THIRD-PARTY DEFENDANT DEMANDS A JURY TRIAL.

Dated: November 7, 2024


                                               _________________________________
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